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 ~AO 245 B
                (Rev.
                Sheet
                         9/00) Judgment
                         I
                                             in a Criminal   Case                                                   G~~
                                                                                                                 CleRK, U.S. O'aTRI~ COURT
                                                                                                              SOUn·'ERlI! OlSTRtgy OF ~, ''''0''
                                                          BV.~                                                            t.l.1..~__ ---.pepU1Y
                                UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA

                 UNITED     STATES       OF AMERICA                     JUDGMENT                  IN A CRIMINAL         CASE
                                    v.                                  (For Offenses Committed On or After November I, 1987)

                   Blanca Estella Montano        (01)                   Case Number:             06CR2688-W

                                                                        Marc Bruce Geller
                                                                        Defendant's   Attorney
REGISTRATION            NO. 02314298

THE DEFENDANT:
X      pleaded guilty to count(s)        one of the information

       Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                Count
Title & Section                        Nature of Offense                                                                      Number(s)
21 use 952 & %0: 18 use 2              Importation   of Marijuana                                                                  1




    The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant             to the
            Reform Act of 1984.
Sl'lltellcing




X    Assessment: $ 100.00 payable forthwith.
X    Fine ordered waived.
         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and specIal assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.
                                                                       April 21 2007
                                                                       Date of Imposition of Sentel1te
AO 24513    Case 3:06-cr-02688-W
            (Rev. 9/00) Judgment in Criminal Case   Document 23            Filed 04/23/07         PageID.46              Page 2 of 4
            Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page    _2   _   of   ~
 DEFENDANT:                    Blanca Estella Montano
 CASE NUMBER:                  06CR2688- W


                                                             IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
time served




o       The court makes the following recommendations to the Bureau of Prisons:




o       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:

                                                    o a.m.      o p.m.         on

        o     as notitied by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       o       before 2 p.m. on

       o      as notified by the United States Marshal.

       o      as notitied by the Probation or Pretrial Services Office.



                                                                   RETURN

I have executed this judgment as follows:

       Defendant delivered on                                                            to


at   _________________                               , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                          By
                                                                                           DEPUTY UNITED STATES MARSHAL
AO 2.t5B      Case 3:06-cr-02688-W
              (Rev_ 9/00) Judgment in a Criminal Case      Document 23                       Filed 04/23/07              PageID.47                Page 3 of 4
              Sheet 3 - Supervised Release

                                                                                                                               Judgment-Page             ~            of    ---4
   DEFENDANT:                      Blanca Estella Montano
   CASE NUMBER:                    06CR2688- W
                                                                     SUPER VISED RELEASE

   Upon release from imprisonment.             the defendant         shall be on supervised         release   for a term of 2 years.
                                                              MANDATORY CONDITIONS

         The defendant shall report to the probation                office in the district to which the defendant            is released     within 72 hours of release from
   the custody of the Bureau of Prisons.
   The defendant      shall not commit       another     federal.    state or local crime.

  The defendant       shall not illegally    possess     a controlled        substance.
   Fo,- otTel/Ses ('Oil/milled Oil or (l[ter September           /3. /994:
        The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                              shall submit to one drug test within
   15 days of release from imprisonment   and at least two periodic drug tests thereafter.

   o The above drug testing condition is suspended, based on the court's determination                                   that the defendant        poses a low risk of
           future substance     abuse.

        The defendant         shall not possess    a firearm,       destructive    device,    or any other dangerous         weapon.

              Drug testing requirements     will not exceed submission of more than eight drug tests per month during the term of supervision,
             unless ordered by the Court.
              The
              If thisdefendant
                      judgment shall  cooperate
                                  imposes        as adirected
                                          a fine or    restitutionin the collection it of
                                                                      obligation,         a DNA
                                                                                       shall       sample, pursuant
                                                                                             be a condition           to 18 release
                                                                                                            of supervised   USC 3583(d)
                                                                                                                                    that tne defendant pay
        any such fine l-)r restitution that remains unpaid at the commencement                of the term of supervised release in accordance      with the
        Schedule of Payments set forth in this judgment.


       The defendant shall comply with the standard                     conditions        that have been adopted       by this court.      The defendant        shall also comply
  with any special conditions imposed.


                                            STANDARD CONDITIONS OF SUPERVISION

  I)    the defendant     shall not leave the judicial          district    without   the permission      of the court or probation          officer;
  2)    the defendant shall report to the probation              officer and shall submit a truthful          and complete       written report within the first five days
        of each month;

  3)    the defendant     shall answer      truthfully    all inquiries      by the probation      officer and follow the instructions            of the probation           officer;
  4)    the defendant     shall support     his or her dependents            and meet other family responsibilities;
  5)   the defendant shall work regularly              at a lawful occupation,         unless excused     by the probation      officer for schooling,          training,      or other
       acceptable reasons;
  6)   the defendant      shall notify the probation         officer       at least ten days prior to any change          in residence     or employment;
  7)   the defendant shall refrain from excessive                 use of alcohol and shall not purchase, possess, use, distribute, or administer                             any
       controlled substance or any paraphernalia                 related to any controlled substances, except as prescribed by a physician;
  8)   the defendant      shall not frequent      places where controlled             substances    are illegally     sold, used. distributed,          or administered;
 9)
       the adefendant
       of              shall granted
             felony. unless  not associate  with any
                                      permission  to lersons
                                                       0 so by engaged   in criminal
                                                               the probation   officer; activity                    and shall not associate       with any person convicted

 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                    and shall permit confiscation
       of any contraband observed In plain view of the probation officer;
II)    the defendant     shall notify the probation          officer       within seventy-two      hours of being arrested        or questioned           by a law enforcement
       officer;

       the defendant shall not enter into any agreement                    to act as an informer     or a special     agent of a law enforcement             agency        without the
       permission of the court;
13)    a" directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
       confirm the defendant's   compliance  with such notification requirement.
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            Shect 3 - Continued 2 - Supervised Release

                                                                                                    Judgment-Page     ~        of -----A
DEFENDANT:                 Blanca Estella Montano
CASE NUMBER:               06CR2688-W


                                               SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall not possess firearms. explosive devices, or other dangerous weapons.

          The  defendantmanner,
          a reasonable   shall submit
                                 by thetoprobation
                                           search ofofficer
                                                     person,orproperty,
                                                               other lawresidence, abode
                                                                         enforcement      or vehicle, at a reasonable time and in
                                                                                      officer.
    x     The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.
l         The defendant shall not enter or reside in the Republic of Mexico without the permission of the probation officer.
    X     The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
          as directed by the probation officer. The defendant may be required to contribute to the costs of services rendered in an
          amount to be determined by the probation officer, based on the defendant's ability to pay. Drug testing requirements will not
          exceed submission of more than eight drug tests per month during the term of supervIsion, unless by order of the Court.
    X     The defendant shall resolve all outstanding warrants within sixty days.
 x        The defendant shall comply with the conditions of the home confinement program for a term of six weeks and shall remain at
          her residence except for activities or employment as approved by the Court or probation officer. The defendant shall wear an
          electronic monitoring device and follow procedures specified by the probation officer only if deemed necessary by the
          probation
          by         officer. officer.
             the probation      The defendant shall pay the total cost of electronic monitoring services, or a portion if deemed appropriate
